              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

BENEZET CONSULTING , LLC; and,                        :
TRENTON POOL                                          :
                                                      :      CIVIL ACTION
      PLAINTIFFS,                                     :
                                                      :      No. 1:16-CV-00074
                    vs.                               :      Hon. Yvette Kane
                                                      :
PEDRO A. CORTÉS, in his official capacity             :
as the Secretary of the Commonwealth of               :
Pennsylvania; and JONATHAN MARKS,                     :      FIRST NOTICE OF
in his official capacity as Commissioner,             :      SUPPLEMENTAL
of the Bureau of Commissions, Elections and           :      AUTHORITY
Legislation                                           :
                                                      :
      DEFENDANTS.                                     :

    PLAINTIFFS’ FIRST NOTICE OF SUPPLEMENTAL AUTHORITY
                 PURSUANT TO LOCAL RULE 7.36

      On April 19, 2018, the U.S. Court of Appeals for the Third Circuit issued a

non-precedential opinion in Wilmoth et al. v. Secretary of the State of New Jersey,

appeal #17-1925, reversing and remanding the New Jersey District Court’s

dismissal of Plaintiffs’ complaint challenging the constitutionality of New Jersey’s

residency requirement for petition circulators working for Republican and

Democratic primary candidates. The Court instructed that strict scrutiny applies

and the record must establish the state’s interest against “party raiding” is real, not

conjectural, and the challenged restrictions materially alleviate the alleged harms.

      The mandate was issued on May 11th.
Dated: May 17, 2018   ___/s/ Paul Rossi__________
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